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                                          ATTACHMENT A-1

                                    LOCATION TO BE SEARCHED
        The property located at 60 Calumet St, Revere, Massachusetts, including the residential unit
and any appurtenances thereto (the SUBJECT PREMISES), which is a unit within a brown, multi-
family home with white trim around the windows and the white front door. Affixed to the left of
the front door of the building is the number 60 and 62 is affixed to the right. 7KHSURSHUW\WREH
VHDUFKHG ZLOO RQO\ EH WKH SURSHUW\ ORFDWHG DW  &DOXPHW 6W 5HYHUH 0DVVDFKXVHWWV QRW 
&DOXPHW6WThe front yard of the SUBJECT PREMISES is enclosed with a chain-link fence with
a gate directly in front of the front door. The exterior of the building is pictured below:




                                                      1
